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THE HONORABLE JAMES L. ROBART

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

 

AT SEATTLE
UNITED STATES OF AMERICA, )
) Case No, 2:12-cv-01282-ILR
Plaintiff, )
) PROPOSED] ORDER GRANTING CITY (\
v. ) OF SEATTLE’S UNOPPOSED MOTION
) FOR COURT APPROVAL OF
CITY OF SEATTLE, ) REVISIONS TO SPD’S POLICTES
)
Defendant. )
)

 

 

 

This matter came before the Court on the City of Seattle’s Unopposed Motion for Court
Approval of Revisions to Seattle Police Department (“SPD”)’s Early Intervention System Policy.
The Court GRANT'S the motion and orders as follows:
(1) The Court approves SPD’s proposed revisions to its Early Intervention System Policy
attached to the City’s Motion as Exhibit A and
(2) SPD may distribute the revised policy to its officers and civilian eraployees and

incorporate the revisions into the Seattle Police Manual (Aitp://www. seattle. gov/police-

manual).
Peter S. Holmes
[PROPOSED] ORDER GRANTING CITY OF SEATTLE’S Seattle City Attorney
UNOPPOSED MOTION FOR COURT APPROVAL OF REVISED or nN ob td Suite 2050
SPD POLICIES - 1 (206) 684-8200

(12-CV-01282-JLR)

 

 
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i)
DATED this Q\° day of January 2019.

C) 2 Yus

Hon. James L. Robart
United States Ipistrict Court Judge

Presented by:

PETER 8. HOLMES
Seattle City Attorney

s/ Kerala T. Cowart

Kerala T. Cowart, WSBA #53649
Assistant City Attorney

Seattle City Attorney’s Office
701 Fifth Avenue, Suite 2050
Phone: (206) 733-9001

Fax: (206) 684-8284

Email: kerala.cowart@seattle.gov

Peter 8. Holmes

[PROPOSED] ORDER GRANTING CITY OF SEATTLE’S Seatile City Attomey
UNOPPOSED MOTION FOR COURT APPROVAL OF REVISED 7! ith Aveme, Suite 2080

(12-CV-01282-JLR)

 

 
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CERTIFICATE OF SERVICE

Thereby certify that on December 31, 2019, I filed the foregoing with the Clerk of the Cowtt

using the CM/ECF system, which will send notification to the following:

Brian T. Moran
Christina Fogg

Matt Waldrop
Gregory Colin Narver
Kerry Jane Keefe
Peter Samuel Holmes
Jeff Murray

Ronald R. Ward
Timothy D. Mygatt
Gary T. Smith
Hillary H. McClure
David A. Perez
Anna Thompson
Kristina M. Detwiler
Merrick Bobb

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DATED this 31st day of December, 2019, at Seattle, King County, Washington.

s/ Kerala T. Cowart _

Kerala T, Cowart, WSBA #53649
Assistant City Attorney

E-mail: kerala.cowart@seattle.gov

Peter S. Holmes

[PROPOSED] ORDER GRANTING CITY OF SEATTLE’S Seattle City Attomey
UNOPPOSED MOTION FOR COURT APPROVAL OF REVISED 701 Fifth Avenue, Suite 2050

SPD POLICIES - 3
(12-CV-01282-JLR)

Seattle, WA 98104
(206) 684-8200

 

 
